                                                              Case 9:24-ap-01028-RC     Doc 9 Filed 10/03/24 Entered 10/03/24 12:44:47   Desc
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                                                          2
                                                            Covina, CA 91723
                                                          3 Telephone (310) 744-5227
                                                            Email brian@adeptcounsel.co
                                                          4 Attorney for Defendants
                                                            Adept Legal Counsel PC
                                                          5 Brian Morgan Heit
                                                          6                       UNITED STATES DISTRICT COURT
                                                          7                       CENTRAL DISTICT OF CALIFORNIA
                                                          8
                                                          9                                            Case Number: 9:24-bk-10608-RC
                                                  10                                                   Case Number: 9:24-bk-10554-RC
440 North Barranca Avenue, Suite 8933, Covina, CA 91723




                                                              In Re:
                                                  11                                                   Chapter 7
                                                              Brian Morgan Heit
                                                  12
                                                              and                                      Adversary No. 9:24-ap-01028- RC
                                                  13
                                                              Adept Legal Counsel PC.
                                                  14                                                   DEFENDANTS’ NOTICE OF
                                                                       Debtor                          MOTION FOR JUDICIAL
                                                  15
                                                     ------------------------------------------------- NOTICE
                                                  16 Daniel Gonzalez,                                  [[FRCP §§12 (b)(6); FRBP §7012(b)]
                                                  17        Plaintiff.                                 Judge: Honorable Ronald A. Clifford
                                                  18 vs.                                               DATE: November 5, 2024
                                                  19                                                   TIME: 1:00 PM
                                                                                                       CTRM: 201
                                                  20 Brian Morgan Heit,
                                                  21 And
                                                  22
                                                     Adept Legal Counsel PC,
                                                  23
                                                  24       Defendants.
                                                  25
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                                                          1         TO THE HONORABLE RONALD A. CLIFFORD, UNITED STATES
                                                          2 BANKRUPTCY JUDGE, DANIEL GONZALEZ PLAINTIFF; JERRY
                                                          3 NAMBA, CHATPER 7 TRUSTEE AND ALL PARTIES IN INTEREST:
                                                          4         PLEASE TAKE NOTICE, that on November 6, 2024, at 9:00am in
                                                          5 Courtroom 201 of the United States Bankruptcy Court, before the Honorable Ronald
                                                          6 A. Clifford , located at 1415 State Street, Suite 233 Santa Barbara, California 93101-
                                                          7 2511, Defendants BRIAN MORGAN HEIT and ADEPT LEGAL COUNSEL PC
                                                          8 (“Defendants” or “Debtors”), will move this Court pursuant to Fed. R. Civ. P. §201,
                                                          9 for Judicial Notice of certain documents (the “Motion”).
                                                  10                The Motion is further based upon this Notice of Motion, the Motion itself
440 North Barranca Avenue, Suite 8933, Covina, CA 91723




                                                  11 filed and served on October 3, 2024 (Adv. Dkt. 6) all pleadings and other material
                                                  12 on record in this case and adversary, and all other evidence that may be presented
                                                  13 at or before the hearing on the Motion.
                                                  14                YOU ARE NOTIFIED, pursuant to Local Rule 9013-1(f), each interested
                                                  15 party opposing, joining, or responding to the motion, unless otherwise ordered by
                                                  16 the court, must file and serve on the moving party and the trustee not later than 14
                                                  17 days before the date designated for hearing either: (1) A complete written statement
                                                  18 of all reasons in opposition thereto or in support or joinder thereof, declarations and
                                                  19 copies of all photographs and documentary evidence on which the responding party
                                                  20 intends to rely, and any responding memorandum of points and authorities. The
                                                  21 opposing papers must advise the adverse party that any reply to the opposition must
                                                  22 be filed with the court and served on the opposing party not later than 7 days prior
                                                  23 to the hearing on the motion; or (2) A written statement that the motion will not be
                                                  24 opposed. YOU ARE FURTHER NOTIFIED, pursuant to Local Bankruptcy Rule
                                                  25 9013-1(h), papers not timely filed and served may be deemed by the court to be
                                                  26 consent to the granting or denial of the Motion, as the case may be.
                                                  27
                                                  28
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
1162 Vista Canyon Ln.
Newbury Park, CA 91320
                                                                      Notice of Motion for Judicial Notice
A true and correct copy of the foregoing document entitled (specify): __________________________________________
 Declaration of Brian Morgan Heit
________________________________________________________________________________________________
________________________________________________________________________________________________
________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
  Sandra McBeth (TR) jwalker@mcbethlegal.com, CA65@ecfcbis.com;ecf.alert+McBeth@titlexi.com
  United States Trustee (ND)ustpregion16.nd.ecf@usdoj.gov



                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
              10/03/2024
On (date) _______________,      I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.
   Daniel Gonzalez
   P.O. Box 847
   Pleasanton, CA 94566

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

10/03/2024         Brian Morgan Heit
 Date                        Printed Name                                                       Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
